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152
MR. CERESNEY: Hold on. Why does it
matter to him? Why -- I mean, I'm just --
I'm --
MS. WAXMAN: That's fine. Thank
you.

Q Why does it matter to Ripple Labs
who created XRP? Why are they stating in
Exhibit 79 "Ripple did not create XRP"?

MR. CERESNEY: If you know.

A I'll tell you -- I'll tell you what
I do know to the extent that I know it. We
stated simply and factually a long time ago
that the ledger preexisted the company. It
was one of the conditions of the formation of
the company that we have a functional ledger.
Then people, for some reason, just started to
dispute that. We had no choice but to sort of
defend the position. It just became a point
of contention.

Q Did you ever discuss with anyone
that Ripple did not want to be identified as
the issuers of XRP?

A I had a conversation about that with
Chris Larsen. We were concerned about the von

NotHaus decision, where he was convicted of

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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153
essentially counterfeiting. And there was a
concern that if the company had been the
creator or the issuer of the tokens, that that
might create liability for the company or the
stockholders because they might be deemed
counterfeit under federal law.

That was one of the reasons why it
was important to us at the time that the
tokens predate the company and that the
company not be the creator or the issuer of
the tokens but a new user of them.

QO I'm not familiar with that case.

Can you tell me more about it?

A I'll tell you what I recall. And
obviously you can look it up and get the
precise details. But a man named Bernard von
NotHaus was charged essentially with
counterfeiting. For creating, I think it was
the Liberty Dollar or something similar.

And a lot of people in the
eryptocurrency community -- this case was
announced, I think in early or mid-2012. And
a lot of people in the cryptocurrency
community were concerned because it uses the

word coins and -- it was like a matter of

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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interpretation. Does that just mean physical
metal or could that refer to electronic
tokens? Were these illegal under federal law?

We didn't want the company or the
investors to have that risk. And so the
founders agreed that they would be the ones
who took on the creation and the issue of the
tokens and gifting them to the company. And
that made it a hard requirement that we have a
functional ledger before we could go to
investors in that second round to sort of
create a company. That was the concern at
that time.

QO Was there a concern under the
Federal Securities laws?

A At that time, I think if you'd asked
us to list all of our concerns, it would have
appeared on the list. But it wasn't -- I
would not have characterized it as a

Significant concern at the time.

QO But it was one of the risks?
A Yes.
QO It was one of the risks that -- it

was one of the reasons why you wanted the

ledger to predate the company?

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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A I don't know that --
MR. CERESNEY: He -- hold on. He

didn't say that. But go ahead and answer.

A I don't believe -- I don't think
we -- I don't think we considered that those
two things -- I don't have any recollection of

ever considering them in connection. And I
don't think we would have at the time. I
don't think we considered that particular risk
Significant enough to warrant that type of --
that type of step. And I don't recall us ever
having advice from counsel to suggest that --

MR. CERESNEY: L, =

THE WITNESS: I shouldn't.

MR. CERESNEY: You shouldn't. Stop.

A But I don't believe there was a
cause and effect relationship between those
two things.

Q Can you just tell me again why --
the creation of the ledger -- why it was
important to have the ledger created earlier
on before the formation of the company.

A My recollection at the time was that
Chris Larsen and I had a conversation about

the legal status of the -- legal status of the

[1/30/2020 10:05 AM] Schwartz, David Inv.Test.

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156
tokens. And our primary concern was that the
tokens might be deemed like counterfeit coins
under U.S. law. We felt one of the ways to
mitigate that would be to ensure that the
company didn't launch until the ledger was
functional. That's why it was so -- it's one
of the reasons it was so important to us to
have a functional ledger and that the tokens
were issued and distributed prior to the
formation of the company. So that the company
couldn't be characterized as the creator or
issuer of the tokens.

MR. DANIELS: I think you said it
was important to have the tokens issued and
distributed prior to the formation of the
company; is that right?

THE WITNESS: Yes.

MR. DANIELS: In the agreement that
we are looking at with Arthur Britto, it talks
about the anticipated distribution of the
tokens; is that correct?

THE WITNESS: I see it says, "It is
anticipated that a total of a hundred billion
credits shall be recorded on the official

ledger."

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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157

MR. DANIELS: And this is talking
about, at least in the context of Britto, that
two percent is going to be distributed to him.
At a certain point in the future, there will
be a distribution of these tokens; is that
right?

THE WITNESS: I think there was no
need to make the agreement with respect to --
with resect to distributions that had already
taken place. I believe the concern with this
was more about subsequent distributions, that
if, for example, the company abandoned the
existing ledger for some reason.

This is about potential subsequent
distributions. It could have taken place
either -- it could have been executed either
before or after the initial distribution. I
think either of those are consistent with
this. And I don't know from my own knowledge
which of those two things were the case.

I don't read the anticipated
distribution to mean that it didn't happen
yet. Because there would be no need to come up
with an agreement about what would happen in

something that had already happened. The

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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158
concern was what would happen in this future.
So the fact that this talks about subsequent
distributions may just be that that's what
Britto was concerned about.

Again, I'm speculating based on my
knowledge and the time period and what the
document says.

MR. DANIELS: So I guess I'm trying
to understand.

What type of distribution do you
think had taken place at the time of this
agreement?

MR. CERESNEY: If you know.

THE WITNESS: I don't know. I know
they anticipated a distribution where they
would each take from the Genesis account and
then they would gift -- each gift eighty
percent of what they had taken to the company.
And I know that this agreement was about
concerns about subsequent distributions. But
it could have also included --

MR. DANIELS: In the first point
here it also says, "The founders agree that
eighty percent of all Ripple credits shall be

allocated to the company."

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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159

THE WITNESS: Yes.

MR. DANIELS: Is that what you are
referring to in terms of eighty percents
distribution to the company?

THE WITNESS: Yeah.

MR. DANIELS: That seems like future
distribution; is that correct?

THE WITNESS: I don't read it that
way.

MR. CERESNEY: Bottom line, guys, he
didn't see this contract at the time. He
doesn't -- you are asking him to interpret it.
I mean, I -- you know, at some point, this
goes too far.

THE WITNESS: But honestly, I
don't -- I don't -- I don't know. I can read
this -- I can read this either way. And I
don't know which way it happened.

MR. CERESNEY: We all can read it.

THE WITNESS: You can read "shall"
meaning it's something that's going to happen
subsequently. You can read "shall" as in it
will stay the case and already is. I don't
know.

MR. CERESNEY: I don't think he's

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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the witness to tell you.
Q Was there any discussion about you

getting any tokens?

A No, there was not.

QO Why not?

A You would have to ask Jed McCaleb
that .

QO Did you ever ask him?

A I found out about the distribution

after it occurred. And there were some
discussions that I had with Jed and others
about me getting some of the tokens. But it

never happened.

QO Did you ask him for some of the
tokens?
A There were conversations that I had

with Arthur, Jed and Chris about whether I
would get some of the tokens. But it never
happened. I mean, obviously not until much
later.

QO Was it --

MR. CERESNEY: Hold on. The

discussions happened much later, is what you
are saying?

THE WITNESS: Right. Well, both the

[1/30/2020 10:05 AM] Schwartz, David Inv.Test.

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discussions happened and any tokens that I did
get. You know, the ones that you have, did
happen later as well.
Q So those initial discussions you are

talking about, about getting some tokens, when

did the -- when were the first conversations?

A I -- I believe that would have been
around -- it would not have been until around
early 2013. But that -- that's -- I can -- I

can place in it in time that we were ina
Bitcoin conference, I think in San Jose. I
think it was a 2013 conference. I can't place

it in time better than that.

0 Did you ask them for XRP tokens?

A I aid.

Q How many?

A We did not get down to specific
numbers.

QO Generally? Percentage?

A I think -- I think the order of

magnitude might have been something like a

get -- we -- we didn't get to real negotiation
at that time.

QO What was their response?

[1/30/2020 10:05 AM) Schwartz, David Inv.Test. 1.30.2020
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A At the time, the company was really
focused on other things that it was doing.

The response was kind of like this wasn't the
best time to kind of try to renegotiate.
Things didn't happen --

QO Did you receive any portion of --
any XRP in 2013?

A I -- I don't believe so. I must
have received some because I was able to
interact with the ledger. And I couldn't find
any records to quantify. But I must have
received at least a small amount. Because I
was able to interact with the ledger, and you
can't interact with the ledger without XRP.
But I don't have a specific recollection and I

wasn't able to locate records.

Q Did you participate in the
giveaways?
A I participated in some of the early

giveaways. Before the company had a rule
prohibiting employees from participating.

Q Outside of the giveaways, were you
gifted any XRP.

A I have a recollection of a gift of

ae But I was unable to find a

[1/30/2020 10:05 AM) Schwartz, David Inv.Test. 1.30.2020
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record of it on the ledger. And it might have
been on an earlier ledger that was discarded.
I was unable to confirm that that happened. I
do have a recollection of it. But I'm not
sure if it happened -- you know, where in time
that happened. I couldn't find records.

QO If the ledger was discarded. Does
that mean you don't have access to that XRP?

aA No. I would still have access to it
1f it was reconstructed on the -- if it was
reconstructed with the other balances it would
have still been mine. So it's possible that I
got one million XRP prior to alleged reset.
Can't find the records because they're ina
format that nobody can decode anymore and I
had them in that initial ledger. That's
possible. Again, I searched for records and
was unable to find them. That would have been
re: at a time when it was literally
worthless.

O Going back to Exhibit 77, last
paragraph. Talks about Xpring.

What is the company's, Xpring,

strateoy?

A It started out as sort of a venture

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164
capital arm to kind of get access to deal flow
and see what was going on in space. Possibly
make some investments in companies that were
interested in building things on the XRP
Ledger or otherwise inside the cryptocurrency
space. It kind of, over time, has evolved into
more of a technical effort around building
products that make it easier for people to
interact with technologies like Interledger,

ecryptocurrencies generally and the XRP Ledger.

QO How do those XRP strategies benefit
Ripple?
A So I think there's two main ways. So

one of them is investments could directly
benefit Ripple because you can invest ina
company and the value -- you may be able to
extract value from the company from either
shares or whatever. But I think the -- I
think the bigger one is about growing -- about
growing the space.

I think Ripple's fortunes are tied
to the cryptocurrency space pretty tightly.
So it's more about encouraging development in
the space. I think also, initially, there

was -- there was a fear that people -- that

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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the sort of ICO craze might lure people who
wanted to build interesting projects into
building them on platforms that were not very
solid. And lure them into getting locked into
a platform that wasn't good technically and it
would lead them to fail. This would kind of
be a way of encouraging them to adopt
platforms that were more open, such as ina
ledger.

Q Does Xpring encourage alternate use
cases of XRP outside of payments?

A That's definitely one of the things
that we do.

Q Do you have any involvement with any

Xpring initiatives?

A I do.
QO What is your involvement?
A Ethan Beard is the head of Xpring. I

meet with him frequently and several of the
technical leaders inside the project, and
provide assistance with technical decisions
that they make in development of the software
that they're producing.

Q Are they -- is Ripple currently

developing software that could use XRP outside

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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166
the payments context?

MR. CERESNEY: Ripple itself or
other entities that Ripple --

MS. WAXMAN: Ripple itself.

A We are developing products --
software products that would be useful for
people who are doing that. Like that would
enable them to more easily access technologies
like the Ripple ledger and Interledger. So lI
don't think a flat yes or no answer is really
responsive.

Q Can you give me an example of one of
those products?

A Yes. One would be what we actually
call the Xpring platform. Which is
essentially a tool kit for interacting with
technologies like Interledger and the XRP
Ledger. That would enable people -- whatever
use case they were pursuing, it would be
easier for them to develop software.

One of the biggest things that we
heard from the industry people was that people
wanted to build on top of blockchain
technologies, but it was very difficult.

There were only a limited of people with deep

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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167
expertise in the blockchain space. So if you
have to hire ten blockchain experts to do
anything with blockchain, that tremendously
limits the possibility for adoption of
technologies like Interledger or the XRP
Ledger and even Bitcoin and Ethereum.

The idea was to build a sort of
layer in the middle that would allow you to
interact with a blockchain without having to
have blockchain expertise.

Q Can you put a native token on the
XRP Ledger just like if you wanted to issue an

Ico token on the Ethereum ledger?

A You can.
Q Do people do that?
A Not very much. I've seen it happen,

but not very much. They tend to be very
short-lived. Typically, what you'll see is
you'll see XRP, which is like the native
token, you'll see assets pegged to either
digital assets or fiat issued assets that
trade on the decentralized exchange.

And then you will see some of these
sort of quasi-native issued assets that are

kind of digital asset-like that don't live

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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168
anywhere else. I don't believe there have
been any successful efforts to do that though.
Nothing stops you from doing it. I just don't
think people have had particularly much

interest in doing so.

QO Can you turn to page twenty.
A Of which exhibit?

QO Of the --

A This one, Exhibit 76?

QO Yeah.

A Okay.

QO The middle post. Post number

forty-five.

A Yes.

Q It talks about founders' XRP getting
sold.

A Yes.

QO It says, "We definitely have had a

problem with founders' XRP getting sold.

We've worked extensively to get that locked

up."

A Yes.

Q Why would you -- why did you want to
do that?

MR. CERESNEY: Why did you want to

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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169
lock up? When you say "do that," you mean to
prevent those sales?
Q Why did have you want to prevent XRP
from getting dumped?

MS. WAXMAN: Thank you.

A There were a variety of reasons. But
one of them was with a -- if someone had a
very -- so Jed had approximately nine billion

XRP. Which would be enough to sort of
saturate the ledger with spam for the
foreseeable future, to be able to -- remember
the use case of XRP, back at that early time
when this happened, was that it was sort of
fuel for your transaction.

And the idea was that if you were a
legitimate user, you would be able to put the
actual economic value of your transaction --
it might be extremely small, it might be a
tiny fraction of -- a tiny, tiny fraction of a
penny, but you could put that into the
transaction fee.

Whereas, if somebody else had an
enormous amount of XRP that they had been able
to acquire at a very low cost, even if their

transactions had much less economic value than

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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yours, or none at all, they could produce
hundreds of millions or even billions of them
and render the ledger unusable.

QO Okay. But would there be another --
would massive selling have an effect on the
price of the XRP as well?

A It would. I don't think that was
the primary concern at the time it happened.

QO Was that a concern at all?

A I think it probably is fair to say
it was a concern.

QO Was that a concern to other XRP
purchasers --

MR. CERESNEY: Hold on.

QO -- in the market?

MR. CERESNEY: So you're asking him
whether other purchasers in the market would
be concerned?

MS. WAXMAN: Yes.

QO I'm asking that because I know that
there are lots of comments on a lot of forums
and I know that you participated ina lot of
forums.

A I did see people who were concerned

about it at the time, expressing their

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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concern. Jed made a public announcement that
he was going to -- I think he probably even
used the word "dump." That he was going to
dump all of his XRP. And certainly there were
people who expressed concerned for a variety
of reasons.

Q Going back to the original question,
were you concerned that that selling was going
to have a negative impact on the price of XRP?

A At that time, the primary concern
was that it would render the XRP Ledger
essentially useless. But I -- I will say a
price -- we were not -- I'm trying to think of
a way to precisely describe what happened.

The primary concern was the damage
to the utility of the ledger. There was a
secondary concern about the impact on price.

QO That concern about impact to the
price, over what period of time was it?

A I -- I don't recall when Jed made
that announcement. It would have been shortly
after Jed made that announcement.

QO Is there still a concern now that
Jed could sell massive amounts of XRP and have

a negative impact on price?

[1/30/2020 10:05 AM] Schwartz, David Inv.Test.

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A I believe we've reached a settlement
with Jed that --

MR. CERESNEY: Why don't we stop,
leave it at that. The settlement about his
sales. That's what you were going to say,
right?

THE WITNESS: Right.

A There's no further concern because
there is a settlement in place.

Q Is that what you are referring to in
the first paragraph, "We've worked extensively

to get that locked up"?

A Yes.
Q Okay. So you were referring to the
settlement.

Did the company enter into
settlements are other founders regarding
sales, their sales of XRP? Or anyone else?

A I think there was an agreement with
Arthur Britto, but I don't know the details.
I seem to remember someone mentioning that
that either existed or was in the works. But
I don't know of anything else.

Q So the post is accusing Ripple of

dumping XRP. And then the last paragraph

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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173
says, "There were actually two cases where
we -- where there was attempted dumping that
you can you could make a reasonable argument
that we had some responsibility for."
You are talk about Ripple?

A I believe I am. Yes.

QO "And in both cases, we immediately
took that XRP off the market and sought
compensation from the parties."

What two cases are you referring to?

A I'm not absolutely sure what I was
referring to. I'm almost positive that one of
them was Jed's initial announcement. The
other one may have been a subsequent act by
Jed or someone related to Jed. Or something.
Someone who Jed had given a large amount of
XRP to. Something in that line. And actually,
now that I think about it we had sort of
more -- "we" is sort of more broad than that.
Because "we" would include also the founders
outside of their capacity. Outside of their
capacity as, you know, employees of Ripple and
people connected with Ripple.

QO When was the announcement by Jed?

A I do not recall the date.

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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174
QO What did the announcement say?
A My recollection is that Jed
announced that he was going to dump or sell
all of his XRP very rapidly.
Q Did he say why?
A My -- my recollection is that he
expressed disillusionment with the project.

But I don't recall specifically.

QO Why was he disillusioned with the
project?
A My -- so the project -- I think it's

because we had sort of pivoted away from the
giveaway and grass roots adoption strategy.

QO What was the pivot to?

A I'm trying to think what that -- I
think that would have been when the pivot was
to do the sort of enterprise payment
international settlement strategy. It might
have been earlier than that.

QO And I don't know if we went over

this, but why did the company pivot to that

strategy?
A Giveaways were not -- were not being
effective. And when we went to -- the gateway

strategy was working successfully with like

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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175
eryptocurrency companies and companies that
were really interested in experimenting with
new technology just for the sake of
experimenting with new technology. But when
we went to companies like financial
institutions and banks, we got a lot of
pushback that there wasn't a good fit of the
tech -- of public blockchain to the use case.

QO Was this pivot before or after Brad
Garlinghouse came on board?

A My recollection is that it was
before. But you know what, I might be
thinking before he became CEO rather than
before -- because he initially joined as COO.
And his role kind of grew in that time. So
it's -- I'm pretty sure it was before he
became CEO. I'm not sure if it was before he
joined the company.

QO What was the timing in relation to

the company's settlement with the DOJ and

FinCEN?
MR. CERESNEY: Which was in 2015,
right?
MS. WAXMAN: Yeah.
A I think we were well into that

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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strategy before the settlement. Because I
remember there was concern at the time that
the settlement might impact our relationships
with partners that we had acquired as part of

that sort of enterprise payment strategy.

QO Was Jed disillusioned for any other
reason?
A I would have to speculate about

Jed's motives. Not that he communicated to

Q What was your relationship with him?
A It was quite strained at that time.
Shortly around that time, he announced

a Which was sort of a clone of Ripple

and a competing project that essentially

copied all of our -- all the work we had done.
I mean, it's a public -- it's open source. He
certainly could do that. But I was -- I would

describe myself as not happy.

QO What were -- why did Jed leave
Ripple? What were the circumstances in
connection with his departure?

MR. CERESNEY: As you understood it.

A From what I saw, Chris and Jed's

relationship broke down. There was

[1/30/2020 10:05 AM) Schwartz, David Inv.Test. 1.30.2020
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disagreement over the direction that the
company should go. There was disagreement
over whether Chris should remain as CEO. And
then the board voted to retain Chris as CEO
and essentially to reject some of the
suggestions that Jed had made, and he left.

QO Was there a disagreement as to
whether the founders should return their XRP?

aA Not to my knowledge.

QO Did ae --: make a public
demand or publicly disclose that he had wanted
the founders to return the XRP to the company?

A I do remember him making that
statement.

QO Why did -- why does -- docs
believe that the founders took the XRP from
the company?

A He -- he stated that. I don't know
that he believes it. He has stated that he
believes it, but I find that very difficult to
believe. Because I know he was involved in
conversations about who -- about precisely
about Ronald (sic) von NotHaus issue.

It may have been Chris that spoke to

him, but I mean, I know that conversation -- I

[1/30/2020 10:05 AM) Schwartz, David Inv.Test. 1.30.2020
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know those conversations took place. So it
just seems odd to me that he would suddenly
have taken a position that was inconsistent
with what I think we understood.

QO The distribution was directly
related to that Liberty Dollar case?

A I think that was one of the concerns
that drove the basic parameter that -- it sort
of drove the timeline of having to have a
functional ledger prior to the creation of the
company. And having to have the tokens
functional and distributed prior to the
creation of the company. There was also
conversation, I think, about whether investors
would get tokens. And the idea was that that
would create liability that -- investors don't
want liability. Right. They want
participation and the growth of the company.
That would create liability. It was very
clearly decided at the time that just wasn't
something that could happen.

Q Are you talking about liability --
was it only liability for perhaps the token
being counterfeit or liability in general?

A I would say our biggest concern was

[1/30/2020 10:05 AM] Schwartz, David Inv.Test.

178

1.30.2020

 
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179
the counterfeit issue because that was the
biggest one at the time. I think there were
other -- I think other major issues included
consumer protection laws and the possibility
of state laws that we were not aware of.

QO Also to include concern about
Federal Securities laws?

A I don't believe that that was
considered a significant concern at that time.
I think if we had made a list of all of our
concerns, it would have gone on that list. It

would not have even gone in the top three.

Q If you go to page -- hold on one
second -- page five of that, post number ten.

A I see that.

QO My question is, what did the team of

engineers at Ripple Labs do to one, maintain
the ledger, the XRP Ledger?

A We continued to work on improving
the functionality, stability and security of
the XRP Ledger software throughout that time
period.

Q Can you tell me how many engineers
at Ripple are responsible for doing that?

A I think it grew from initially

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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180
about -- well, initially it was just me. And
it grew to probably about fifteen or sixteen
now.

Q Can you tell me the experience of
those engineers and what sorts of background
they have?

A It's tremendously varied. All of
them except for -- all of the ones who are
actually writing codes, except for one, are
primarily C++ developers. And they have a
variety of experience, you now, in fields like
enterprise software development distributed
systems, computer security. We've tried to --
tried to keep their skill set very varied to
make sure that we have expertise in all areas.

Q Do they work on maintaining the XRP
Ledger full-time?

A They work on maintaining the XRP
Ledger software. Most of them full-time.

Q Do they also work on developing the
software?

A They work on -- they work on finding
bugs, adding new -- designing and adding new
features. Quality control and submissions

from other people. That kind of thing.

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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181

QO What new features have been added to
the ledger since 2013?

A So there's -- there's obviously a
very long, long list of features. I know I'm
going to forget some of the big ones.

So multi-sign is one, which allows
you to have multiple people who manage an
account instead of just one person. So you
can have let's say two or three. We added
something called "payment channels," which
enables people to form transactions off the
ledger. So if you want to perform let's say a
thousand transactions per second, you don't
want all of them to be on the ledger. This
lets you have the security of on-ledger
transactions without having to submit them all
to the ledger.

We have the feature called "checks,"
which enables you to control how you receive
funds. On most cryptocurrency systems, people
can just send you money. It sounds like a
good thing, but if you have legal obligations
to return the funds that you haven't earned,
it can be a problem if you receive funds that

you didn't want to receive.

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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182
QO Air drops?
A Exactly.
QO Similar to that?
A Yeah. I guess that's another

problem. You just get an enormous amount of
valueless assets. That you then have to try
to figure out what to do with them. Are there
tax implications? It can be quite a mess. It
seems nice to receive money, but it can be a
burden. Particularly for financial
institutions.

There were a number of security
features that we added in response to various
different type things that were defects or
they affected usability, performance,
security. There was a complete rewrite of the
payment engine because there were some issues
with it, in certain cases, not behaving the
way people expected it to. Better
instrumentation so that you could tell what it
was doing. That kind of thing.

Q Did these features improve the speed
of the ledger?
A Some of them -- some of them did.

Q Did they improve the scalability of

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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183
the ledger?

A Yes.

QO Were they features that were
developed by Ripple engineers in-house?

A Many of them were.

Q Just what is your particular
involvement in that whole process that you
just described?

A So initially, I did a significant
fraction of the coding. Over time that
evolved more into guidance, advice. You know,
working on more of the design level and
technical details. And now it's become much
more sort of hands-off. But you know, when
they have technical questions, they seek me.

QO When the XRP Ledger was created, was

it decentralized?

A When it was first created, no.
QO Why not?
A It had the capability to be run ina

decentralized way. That was a very important
design idea. If you define

decentralization -- people define
decentralization in many different ways. But

the one that I think is paramount is, does it

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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184
have a head that if you cut the head off, the
organism dies? When you just create something
and you're the only person who has it and uses
it, if you go away, so does that thing. It's
not until it's at least sort of in public
circulation that other people have an
opportunity to continue the efforts, that I
think you can fairly characterize it as
decentralized.

Q At what point would you characterize
a XRP Ledger as decentralized?

A It's a gradual continuum over time.
I think one -- one -- ome place you can put a
Stake in the ground is when the -- when the --
when the -- that's -- it's very tricky to put
a stake in the ground. Obviously if it's not
functional, you can't really -- it doesn't
really do any good to describe it as
decentralized. Because what are you
decentralizing? So I think one minimum
criteria is that it be functional. But after
that, it kind of gets to be a continuum.
Where again, it becomes a line drawing
exercise.

QO When it was released for the public,

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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185
when it became live, was it decentralized
then?

A It wasn't decentralized in the sense
that in the short-term, a single party ran the
hardware on which the ledger operated. But it
was decentralized in the sense that had we
stopped, somebody else could have taken over.
Again, it gets to be a line drawing exercise
of what do you think is important to
decentralization. And how -- how -- how much
does sort of short-term versus long-term
matter.

Q At some point, did the company make
it a priority to make the ledger more
decentralized?

A Yes.

QO What did they do?

A Over a period of time, there were a
number of different things that we made. From
technical changes to the software to make it
more resistant to different attack models that
might be associated with centralization. To
try to get more people to run validators. To
try to get people to add to the list of

validators that they were willing to listen

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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186
to. Validators that weren't run by Ripple
Labs.

There were a number of efforts
related -- that related to sort of improving
the way people would consider it decentralized
by various different metrics. I think you
could even put efforts to reduce the amount of
XRP we held because some people think that
distribution is sort of an important parameter
to decentralization.

QO How would you reduce the number of
XRP that you hold?

A Well, the initial strategy was
giveaways. And then later, it became more
like partnerships. And then sales were part
of that. And that's still sort of a challenge
for us, to figure out how to -- how that's
going to happen.

Q Because you still own quite a bit?

A Right. There's no -- there's no
obvious strategy to get that number down in

any sort of short time frame. Other than just

dumping.
Q Could you give it away?
A It's very difficult. You can, but

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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187
what happens is that people will tend to try
to gain the giveaway to the extent of the
value of the thing that you give away. If you
give something away that's worth $5.00,
someone will spend $4.50 to try to get it.

And we had some bad experiences with giveaways
after the token had value that resulted in bad
actors doing bad things. And it turns out to
be a lot more difficult than you might think
to do that.

QO Is there a benefit to having
everyone follow Ripple's UNL?

A The benefit is, is that it saves --
it saves effort. It's the simplest thing to
do. It doesn't require any more effort on
your part. As long as that gets you the
results you want, people will probably do it
until it doesn't get them the results they
want. And then they may be willing to expend
effort to do something else.

QO How many validators on the UNL does
Ripple control?

A That has changed over time. I think
right now, it's five. But I'm -- I'm not sure

of the exact number at this time.

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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188

QO Five out of how many?

A So there's -- I would have to
double-check the number. But I think there's
approximately thirty on the UNL that Ripple
recommends. And there's approximately a
hundred twenty validators total. Both
including ones that Ripple recommends and not,
ones that Ripple does not recommend.

QO Is it more likely that the consensus
process will work if they use the recommended
UNL?

A It will work as long as there's
substantial agreement on what the UNL is. If
you think that a significant fraction of
people are following our recommendations, then
it works better if you follow the
recommendations at least approximately.
There's a certain amount of sort of wiggle
room that you get in the protocol where it
still works just fine.

QO I want to talk about --

MR. CERESNEY: Actually, before you
start a new topic, we've been going about an
hour twenty.

MS. WAXMAN: Sure. That's fine. We

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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189
are off the record at 2:57.
(A brief recess was taken.)
MS. WAXMAN: We are back on the
record at 3:09.
QO Mr. Schwartz, earlier today we were
talking about how the company shifted focus,

they pivoted to using XRP for payments,

correct?
A Yes.
Q How did the company set out to

execute this new strategy?

A In the first version of that
strategy, the sort of gateway strategy, the
idea was that the transactions would take
place on the ledger and XRP would provide
liquidity between issued assets. In the later
versions of that strategy, XRP liquidity would
be used to facilitate international
transactions that would primarily -- or the
payment itself would take place off the
ledger.

QO When was the later version of the
strategy?

A I would say late 2014, early 2015.

But it may be a little bit -- it may have been

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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190
a little earlier than that.

Q And how did the company try to
execute that later strategy?

A The company started talking
primarily to banks about how they could use
public ledger technology to facilitate
particularly international payments. That's
where sort of the pain was. We discovered
that performing the transactions on a public
ledger, was not a good fit for their use case.
So we started to look at how we could builda
payment system that met their requirements,
they could still interface with public
ledgers.

Q Did you develop -- did you start to
develop a product that would do that?

A Yes. At the time, it was called

Ripple Connect. It's what eventually became

xCurrent.
0 Does xCurrent use XRP?
A xXCurrent doesn't -- it doesn't care

how the payment is settled. You could use XRP
to settle it, but you don't have to.
QO If you use XRP, is the product now

called xRapid?

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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191
A Yeah -- so the terms did become a
bit confusing. XRapid was a module that would
interface with xCurrent as a settlement engine

that would perform the settlement using XRP.

Q When did development of xRapid
begin?
A My recollection is that it was 2017.

But I'm not certain.
QO Prior to that time, could XRP used

as a settlement only on the ledger?

A That's correct.
Q Were banks using the ledger?
A Banks were testing the ledger. They

weren't actually using it for live payments,
as far as I know.

Q If you use xRapid for payments, do
the -- does the exchange happen on ledger or
off ledger?

A The exchange between XRP and fiats,

that takes place off ledger.

QO Was that a benefit?
A You could see it as a benefit for
two reasons. And I think people who -- who

looked at the product did consider it a

benefit for two primary reasons. One is, at

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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192
that time, the off-ledger exchanges were
somewhat more mature. They were more -- they
were easier for enterprise customers to use.
They had better on ramps and off ramps to the
financial system. They had customer service
representatives that you could interact with.
It was a better experience for enterprise
customers.

I think the other reason was every
transaction that you make on a public ledger
is public. And I think there was a concern at
that time, I think to some extent still today,
that you wouldn't want to reflect every
consumer enterprise payment on a public ledger
because that would reveal too much information
about how you were moving money.

Q Was xRapid a way to increase the use

of XRP for payments?

A Yes.
Q Was xRapid geared toward banks?
A Not really. I think they were

always a potential customer. But I think by
the time we implemented -- we always had the
vision that banks might use xRapid or

something like it. But I think at the time

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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193
that we developed xRapid, we realized that
remission-type flows that would typically be
handled by companies like MoneyGram, were a
better initial target. And so I think the
product was more aimed towards a particular
subset of the problem.

Q Why were companies, payments service
providers like MoneyGram better suited for the
product as opposed to banks?

A There were a variety of reasons. One
of them is those payments tend to be smaller.
If you imagine remittance payments, they tend
to be between, let's say $300.00 and $600.00
or so in value. Rather than an enterprise or
business to business payment that might be
much larger, so you don't need as much
liquidity to make it work.

They tend to pay higher rates. Both
because the amounts are small and because the
corridors have lower volume. So for example,
a remittance to Mexico would typically pay a
higher fee than let's say a payment between
the U.S. dollar and the euro. And also, those
companies are very concerned about the cost of

their payments.

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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194

Banks typically, unless they're
banks that are specifically focused on
payments, they don't see payments as
necessarily core to their business. It's just
something that customers expect them to do.
They're more concerned with things like assets
under management and loans. And so it's
harder to motivate them by saying, "We'll make
your payments better." Because that's not as
core to their business, they don't respond as
well to that type of product.

QO So a PSP is more better market fit,
sounds like?

A I think we thought if we couldn't
succeed with PSPs, we couldn't succeed
anywhere. So we would try where we thought
the fit was best and see how that went. And
we were flexible to update the strategy, you
know, if that turned out not to be the right
decision.

QO When did xRapid first become
commercially available? We talked about when
it was in development. When did it come out
of development and actually be used?

MR. CERESNEY: Just one thing. We've

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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195
already determined his recollection of dates
is not ideal.

MS. WAXMAN: I actually don't have a
document that could help here. I wish I did.
A My recollection is late 2018, early
2019. But it could have been even as much as
a year before that.
QO Actually, I do.
I know there was a press release in
October of 2018 where the company announced

that xRapid was commercially adopted.

A That seems to fit my recollection
best.

Q Can you walk us through an xRapid
transaction?

MR. CERESNEY: Just one thing. He --
we'll see if he can do this. But he's not
really a -- the product guy. He obviously has
lots of knowledge. He may be able to describe

this. But you know --

Q I'm looking for a very high
overview.
A I can walk you through it

technically. Technically, the payment would

originate -- there's a lot of variety, but

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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196
I'll pick what I think is the most typical
instance. And it's a little more reflective of
how the product works now than necessarily how
it did in the very early days.

But the general idea is the payment
begins on an xCurrent instance. That's sort
of the product that a customer would interact
with and they would say, "Hey, I want to make
a payment." The xCurrent instance then looks
for paths that can make that payment. So it
looks for routes, which could be direct
settlement. It could be something like
correspondent banking O.it could be on-demand
liquidity from a product like xRapid.

So if you have an xRapid instance
that can facilitate that payment, the xRapid
instance receives that request for payment and
then it tries to determine whether it has the
capability to make the time payment. So what
it looks at is, do you have enough of that
asset that you are spending.

Let's say that you are U.S. dollars
to Mexican peso. So do you have enough U.S.
dollars at the exchange. Then it looks at the

exchange rate between U.S. dollars to XRP. It

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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197
looks at the exchange rate from XRP to Mexican
pesos. And the existence of a sort of payout
ramp. Because once you have the Mexican pesos
at the receiving exchange, you need some way
to get them to the recipient of the payment.

So if all of those pieces are
available, it then sends a quote back to
xCurrent. It says, "I can make this payment
and this is how much it's going to cost. This
is how long it's going to take." It's then up
to the individual customer whose xCurrent that
is, to decide whether that quote is acceptable
to them or not. So their integration software
would say, "Okay. This payment is going to
cost this much. It's going to take this long.
Yes, we like that. Or no, we don't like
that."

If they say, "No, we don't like
that," nothing happens. Not very interesting.
If they say yes, that message is routed to the
xRapid instance and then the xRapid instance
initiates the sequence of the events to make
the payment.

It sells XRP at let's say U.S.

dollar to XRP exchange. It sends the XRP

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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198
typically on the ledger to a receiving
exchange. The receiving exchange -- it then
instructs the receiving exchange to make a
trade from XRP to Mexican pesos. And then it
commands either to the exchange or a payout
partner to deliver the Mexican pesos to the
recipient of the payment. Once that's
complete, assuming nothing goes wrong, it
sends an indication back to the xCurrent
instance confirming that the payment has taken
place.

QO How long does it take from the time
the customer accepts the quote to the time
that the message is sent back to xCurrent?

A About ninety seconds would be
typical. It's quite impressive considering
the number of discreet events that have to
take place.

QO The software runs certain checks to

see if you have enough money.

A A significant fraction --
QO That's the first step, right?
A Yes. A significant fraction of the

complexity of developing the product, it's not

the case where everything goes right. It's

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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199
the large number of things that might go
wrong, how each one has a unique recovery
process to do in that case. When you are
building an enterprise product for financial
institutions to use, they're very concerned
that you cover all of the cases. So the
technical capability to do all of those things
where nothing goes wrong and having a product
that people can actually use for that, there's

an enormous goal.

Q And that was why it took so long to
develop?
A Yeah, that was one of the reasons. I

think another big reason was that last mile.
Everything is pretty simple to get to the
Mexican pesos, let's say in this example. But
you then need to get the Mexican pesos to the
recipient somehow. So there needs to be some
entity in Mexico that can make that last mile
payment. Assuming that the recipient isn't a
bank.

If it's a remittance -- so that's
another interesting sort of downside of the
remittance strategy over the enterprise

payment strategy. In the enterprise payment

[1/30/2020 10:05 AM] Schwartz, David Inv.Test. 1.30.2020

 
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200
strategy, the recipient is typically
well-connected to our financial system. So
just getting the money into a bank is good.
Domestic payment systems are usually good
enough to get money from any bank to sort of
any company in that country.

If your target is an individual,
let's say it's a remittance into Brasil or the
Philippines, they may need cash delivered over
the counter. Or they may have a mobile
payment system that isn't well-tied into the
country's financial system. So I think one of
the challenges that we didn't really
anticipate when we adopted the sort of
remittance strategy was that that last mile
would be very complicated.

Q When you are talking about that last
mile, you're talking about the actual transfer
from the exchange that exchanges XRP to Mexico
into the local currency and that transfer to

the customer?

A Correct.

QO Sometimes referred to it as ACH
transfer?

A Well, in the United States, it might

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